                                                                                                                          Case Number 5:21-cv-9078
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&RXUWWRLQLWLDWHWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
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 Apple Inc.                                                                                                                                           NSO Group Technologies Limited, and Q Cyber Technologies Limited
      E     &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII                                                                                                &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                   Santa Clara County                                                                                                                    127(,1/$1' &21'(01$7,21&$6(686(7+(/2&$7,212)
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                                                        $WWRUQH\V(If Known)
 Benjamin A. Powell, David W. Bowker, Molly M. Jennings (pro hac vice forthcoming)   Sonal N. Mehta
 Wilmer Cutler Pickering Hale and Dorr LLP                                           Wilmer Cutler Pickering Hale and Dorr LLP
 1875 Pennsylvania Ave NW, Washington, DC 20006                                      2600 El Camino Real, Suite 400, Palo Alto, CA 94306
 (202) 663-6000                                                                      (650) 600-5051


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9,            &$86(2)                        &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                                28 U.S.C. § 1331; 18 U.S.C. § 1030
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